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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,            )
                                     )
     Plaintiff,                      )     4:08CR3142
                                     )
     v.                              )
                                     )
WILLIE LEE STURGIS,                  )       AMENDED ORDER
                                     )
     Defendant.                      )



     IT IS ORDERED,

     The joint oral motion of counsel is granted and,

     The detention hearing is continued to November 17, 2008 at
12:00 p.m.

     The defendant shall be present at the hearing.

     Dated November 7, 2008.


                                    BY THE COURT


                                    s/   David L. Piester
                                    David L. Piester
                                    United States Magistrate Judge
